A0245D                 Case
             (Rev. 09/11)      4:02-cr-00201-JM
                          Judgment                             Document 206
                                   in a Criminal Case for Revocations          Filed 03/27/14 Page 1 of 3
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                                                                                     MAR 2 7 2014
                                                EASTERN DISTRICT OF ARKANSA                             ~;:ME~%'"~)\ C).FRK
          UNITED STATES OF AMERICA                                    Judgment in a Criminal Case                           ~RK
                             v.                                       (For Revocation of Probation or Supervised Release)
                 JEROME ADROW

                                                                      Case No. 4:02cr00201-02 JM
                                                                      USM No. 55530-009
                                                                      William Luppen
                                                                                              Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)       General and Standard              of the term of supervision.
D was found in violation of condition(s)           - - - - - - - - - - - after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                       Nature of Violation                                    Violation Ended
General                           Failure to refrain from unlawful possesion of controlled                 01/27/2014

General                           Failure to submit to drug test following release from prison             12/17/2012
Standard 2                        Failure to submit monthly reports                                        12/01/2013

Standard 3                        Failure to answer truthful inquiries by the USPO                         07/12/2013
       The defendant is sentenced as provided in pages 2 through _ __;3:;....__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1891

Defendant's Year of Birth:           1982

City and State of Defendant's Residence:
Little Rock, Arkansas
                                                                       JAMES M. MOODY                               U.S. District Judge
                                                                                             Name and Title of Judge

                                                                      03/28/2014
                                                                                                       Date
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AO 245D   (Rev. 09/11) Judgment in a Criminal Case for Revocations
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                                                                                                            2_
                                                                                            Judgment-Page _ _     of     3
DEFENDANT: JEROME ADROW
CASE NUMBER: 4:02cr00201-02 JM

                                                     ADDITIONAL VIOLATIONS

                                                                                                                 Violation
Violation Number              Nature of Violation                                                                Concluded
Standard 5                     Failure to work at a lawful occupation                                        07/12/2013

Standard 6                    Failure to notify USPO of change in address and employment                     07/12/2013
Standard 7                     Failure to refrain from possession of controlled substance                    01/27/2014
                           Case 4:02-cr-00201-JM Document 206 Filed 03/27/14 Page 3 of 3
  AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                 Judgment- Page -~3~ of           3
  DEFENDANT: JEROME ADROW
  CASE NUMBER: 4:02cr00201-02 JM


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
SIX (6) MONTHS




     t/ The court makes the following recommendations to the Bureau of Prisons:
The defendant shall participate in nonresidential substance abuse treatment.
The defendant shall serve his term of imprisonment at Forrest City, Arkansas



     t/ The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            D     at   --------- D                   a.m.             D    p.m.    on
            D     as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                        to

  at - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                                  By ------------------------------------
                                                                                            DEPUTY UNITED STATES MARSHAL
